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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


PRIDE ENERGY COMPANY,                             CV 20-182-BLG-SPW-TJC

                    Plaintiff/Counter-
                    Defendant,                     ORDER

vs.

THE LONG TRUSTS,

                    Defendant/Counter-
                    Plaintiff.

      Plaintiff and Counterclaim Defendant Pride Energy Company moves for the

admission of Trevor R. Henson to practice before this Court in this case with Brian

D. Lee to act as local counsel. Mr. Henson’s application appears to be in order.

      Accordingly, IT IS HEREBY ORDERED that Plaintiff’s motion to admit

Trevor R. Henson pro hac vice is GRANTED on the condition that Mr. Henson

shall do his own work. This means that Mr. Henson must do his own writing, sign

his own pleadings, motions, and briefs, and appear and participate personally.

Counsel shall take steps to register in the Court’s electronic filing system (“CM-

ECF”). Further information is available on the Court’s website,

www.mtd.uscourts.gov, or from the Clerk’s Office. Mr. Henson may move for the

admission pro hac vice of one (1) associate of his firm. Such associate, if duly
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admitted, shall be authorized to participate in this case on the same terms and

conditions as Mr. Henson.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Mr. Henson, within fifteen (15) days of the date of this Order, files a pleading

acknowledging his admission under the terms set forth above.

      DATED this 30th day of December, 2020.

                                       _______________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
